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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:13-CR-00380-JAM
                                            )
12               Plaintiff,                 ) STIPULATION AND ORDER VACATING
                                            ) DATE, CONTINUING CASE, AND
13         v.                               ) EXCLUDING TIME
                                            )
14   DANIEL SALINAS, and                    ) Status: December 2, 2014
     JORGE MOSQUEDA, JR.,                   ) Time:    9:30 a.m.
15                                          ) Judge:   Hon. John A. Mendez
                 Defendants.                )
16                                          )
                                            )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. By prior order, this matter was set for a Status Hearing on

23         December 2, 2014.

24      2. By this Stipulation, the defendants now move to continue the

25         Status Hearing until February 17, 2015, at 9:30 a.m. and to

26         exclude time between the signing of this Order and February 17,

27         2015, under Local Code T4.      The United States does not oppose

28         this request.


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 1      3. The parties agree and stipulate, and request that the Court find

 2         the following:

 3            a. The United States provided discovery to the defendants on

 4               November 26, 2013, and December 6, 2013.

 5            b. Both defendants are out-of-custody and being supervised by

 6               Pretrial Services.

 7            c. Counsel for the defendants needs further time to review

 8               discovery, conduct defense investigation, and discuss the

 9               case with their clients.

10            d. Counsel for the defendants believe that failure to grant

11               the above-requested continuance would deny counsel the

12               reasonable time necessary for effective preparation, taking

13               into account the exercise of due diligence.

14            e. The United States does not object to this continuance.

15            f. Based on the above-stated findings, the ends of justice

16               served by continuing the case as requested outweigh the

17               interest of the public and the defendant in a trial within

18               the original date prescribed by the Speedy Trial Act.

19            g. For the purpose of computing time under the Speedy Trial

20               Act, 18 U.S.C. § 3161, within which trial must commence,

21               the time from the signing of this order, to February 17,

22               2015, inclusive, is deemed excludable pursuant to 18 U.S.C.

23               § 3161(h)(7)(A), (B)(iv) [Local Code T4] because it results

24               from a continuance granted by the Court at the defendants’

25               request on the basis of the Court’s finding that the ends

26               of justice served by taking such action outweigh the best

27               interest of the public and the defendant in a speedy trial.

28   ///


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 1      4. Nothing in this stipulation and order shall preclude a finding

 2         that other provisions of the Speedy Trial Act dictate that

 3         additional time periods are excludable from the period within

 4         which a trial must commence.

 5   IT IS SO STIPULATED.

 6   DATED: December 1, 2014             /s/ Justin L. Lee   _
                                       JUSTIN L. LEE
 7                                     Assistant U.S. Attorney

 8   DATED: December 1, 2014             /s/ Olaf Hedberg     _
                                       OLAF HEDBERG
 9                                     Counsel for Daniel Salinas
                                       (as authorized on December 1, 2014)
10
     DATED: December 1, 2014             /s/ J. Patrick McCarthy     _
11                                     J. PATRICK MCCARTHY
                                       Counsel for Jorge Mosqueda, Jr.
12                                     (as authorized on November 30, 2014)
13

14

15                                         ORDER
16         IT IS SO FOUND AND ORDERED this 1st day of December, 2014.
17

18                                     /s/ John A. Mendez________________
19                                     Hon. JOHN A. MENDEZ
                                       United States District Court Judge
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     Stipulation to Continue                 3       United States v. Salinas, et al.
